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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------X
IN RE:

ABCK REALTY MANAGEMENT, LLC,                         CH. 11
                              Debtor.                Case No.

-----------------X
                            DEBTOR'S DECLARATION
                   PURSUANT TO LOCAL BANKRUPTCY RULE 1007-2

         Ahron Berlin, declares the following under penalty of perjury pursuant to 28 U.S.C. 1746:

   1. I am the sole shareholder and President of the Debtor, ABCK Realty Management, LLC
         (the "Debtor"). I submit this Declaration in accordance with Local Bankruptcy Rule
         1007-2.
         Local Rule 1007-2(a)(l): Circumstances Leading to Debtor's Chapter 11 Filing

   2. The Debtor is a New York corporation, organized in 2021, for the purpose of owning
      and managing the real property known as 5516 16th Ave, Brooklyn, New York (the
      "Property"). The Debtor is currently operating.

   3. The Debtor is engaged in several lawsuits in New York related to the Property and
      interference with Debtor's rights to the Property. The Debtor has determined that it is
      necessary to seek reorganization under Chapter 11 of the Bankruptcy Code to address tax
      and water arrears that have arisen due to the interference with the Property.
      Local Rule 1007-2(a)(2)

   4. This case was not originally commenced under Chapter 7 or Chapter 13 of the Bankruptcy
         Code.
         Local Rule 1007-2(a)(3)

   5. No committee was organized prior to the order for relief in this Chapter 11 case.

         Local Rule 1007-2(a)(4)

   6. A list of the names, addresses, and claim information of the Debtor's 20 largest unsecured
      creditors, excluding insiders, was filed with the Voluntary Petition on Official Form 204
      and Schedule F.



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      Local Rule 1007-2(a)(5)

   7. The Debtor's secured creditors consists of property tax liens held by Tower Capital
      Management, LLC and NYC Department of Finance, and a lien held by the NYC Water
      Board.
      Local Rule 1007-2(a)(6)

   8. A Summary of the Debtor's Assets and Liabilities:
      Debtor's Primary Assets are: the real property known as 5516 16th Ave, Brooklyn,
      NY 11211, the leases and rents from the 16th Ave Property, and claims against parties
      related to interference with the 16th Ave. Property.
      A summary of Debtor's Liabilities are: Property Tax Lien of Tower Capital
      Management, LLC, Unpaid Property Taxes to the NYC Dept of Finance, and Unpaid
      Water bill owed to NYC Water Board. Disputed claims of N & K Trust


       Local Rule 1007-2(a)(7)

   9. No securities of the Debtor are publicly held.

      Local Rule 1007-2{a)(8)

   10. None of the Debtor's property is in the possession of any custodian, public officer,
      mortgagee, pledge, assignee of rents, or secured creditor, or any agent for such entity.
      Local Rule 1007-2(a)(9)

   11. The Debtor operates its business from 3 Liska Way # 101, Palm Tree, NY 10950.
      Local Rule 1007-2(a)(10)

   12. The Debtor's books and records are located at its office at 3 Liska Way # 101, Palm Tree,
      NY 10950. The Debtor has no assets outside of the Territorial United States.
       Local Rule 1007-Ua)(ll)

   13. The legal actions pending against the Debtor are: John Kohn and Yisocher Kaufman as
      Co-Trustees for N & K Trust and K & K Trust v. ABCK Realty Management, LLC, et al.,
      Kings County Supreme Court, Index No. 525127/2021




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        Local Rule 1007-2{a)(12)


      14. The Debtor's senior management consists of Abron Berlin, President of the Debtor.

         Local Rule 1007-2(b)(l) and (b)(2)

      15. The Debtor does not have any employees and therefore does not anticipate having a
          payroll during the 30 days following the petition date.

         Local Rule 1007-2(b)(3)

      16. The Debtor anticipates operating at a profit in the 30-day period following the filing of the
          Chapter 11 Petition.
         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
         and correct.




                                                       Ahron Berlin, President of the Debtor
  Dated: February 9, 2022
         3, ni{:½"- , NY




        Sworn to before me this 9th day of February 2022




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